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UNITED STATES DISTRICT COURT ' `
WESTERN DIS TRICT 0F TENNESSHEU~ 23 PH J_ -L,

 

WESTERN DIVISION §OE§;_W R_ tim m
in“" "TT
ERIC J. FAIR JUDGMENT IN A CIVIL CASE
'V'.
RICKY BELL CASE NO: 05-2074-Ma

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND.ADJUDGED that in accordance with the Order of
Dismissal entered on June 15, 2005, this cause is hereby dismissed.

SAM'UEL H. MAYS, JR.
UNITED STATES DISTRICT COURT

j"\_~`_ 'L'L/ °°'=S` THOMASM.GO\I.D
Date Clerk of Court

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(By) Deputy C]Hrk

 

 

 

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With Ru|e 58 and!or 79(3) FRCP on g

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02074 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

Eric Fair

RIVERBEND MAXIMUM SECURITY INSTITUTION
22966]

7475 Cockrill Bend Road

Nashville, TN 37209

Honorable Samuel Mays
US DISTRICT COURT

